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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ________________________________________________
                                                  :
  SECURITIES AND EXCHANGE COMMISSION,             :
                                                  :
                          Plaintiff,              :
                                                  :                   14 CIV. 4346 (ENV) (RML)
              -against-                           :                   ECF CASE
                                                  :
  ABRAXAS J. DISCALA,                             :
  MARC E. WEXLER,                                 :
  MATTHEW A. BELL,                                :
  CRAIG L. JOSEPHBERG,                            :
  IRA SHAPIRO,                                    :
  MICHAEL T. MORRIS,                              :
  RONALD M. HEINEMAN, and                         :
  DARREN L. OFSINK,                               :
                                                  :
                          Defendants.             :
  ________________________________________________:


    [PROPOSED] FINAL JUDGMENT AS TO DEFENDANT CRAIG L. JOSEPHBERG

         The Securities and Exchange Commission having filed a Complaint and Defendant Craig

  L. Josephberg having entered a general appearance; consented to the Court’s jurisdiction over

  Defendant and the subject matter of this action; consented to entry of this Final Judgment;

  waived findings of fact and conclusions of law; and waived any right to appeal from this Final

  Judgment:

                                                  I.

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

  permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

  Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

  promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of




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  interstate commerce, or of the mails, or of any facility of any national securities exchange, in

  connection with the purchase or sale of any security:

         (a)     to employ any device, scheme, or artifice to defraud;

         (b)     to make any untrue statement of a material fact or to omit to state a material fact

                 necessary in order to make the statements made, in the light of the circumstances

                 under which they were made, not misleading; or

         (c)     to engage in any act, practice, or course of business which operates or would

                 operate as a fraud or deceit upon any person.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

  Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

  receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

  officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

  participation with Defendant or with anyone described in (a).

                                                   II.

         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

  Defendant is permanently restrained and enjoined from violating Section 17(a) of the Securities

  Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the

  use of any means or instruments of transportation or communication in interstate commerce or

  by use of the mails, directly or indirectly:

         (a)     to employ any device, scheme, or artifice to defraud;

         (b)     to obtain money or property by means of any untrue statement of a material fact

                 or any omission of a material fact necessary in order to make the statements




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                 made, in light of the circumstances under which they were made, not misleading;

                 or

         (c)     to engage in any transaction, practice, or course of business which operates or

                 would operate as a fraud or deceit upon the purchaser.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

  Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

  receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

  officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

  participation with Defendant or with anyone described in (a).

                                                  III.

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

  permanently restrained and enjoined from violating, directly or indirectly, Section 9(a) of the

  Exchange Act [15 U.S.C. § 78i(a)], by using any means or instrumentality of interstate

  commerce, or of the mails, or of any facility of any national securities exchange, for the purpose

  of creating a false or misleading appearance of active trading in, or a false and misleading

  appearance with respect to the market by:

         (a)     effecting transactions in securities which involve no change in the beneficial

                 ownership thereof;

         (b)     entering an order or orders for the purchase of securities with the knowledge that

                 an order or orders of substantially the same size, at substantially the same time,

                 and at substantially the same price, for the sale of securities had been or would be

                 entered by or for the same or different parties; or




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         (c)     entering an order or orders for the sale of securities with the knowledge that an

                 order or orders of substantially the same size, at substantially the same time, and

                 at substantially the same price, for the purchase of securities had been or would be

                 entered by or for the same or different parties.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

  Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

  receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

  officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

  participation with Defendant or with anyone described in (a).

                                                  IV.

         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

  Defendant is permanently restrained and enjoined from violating Section 5 of the Securities Act

  [15 U.S.C. § 77e] by, directly or indirectly, in the absence of any applicable exemption:

         (a)     Unless a registration statement is in effect as to a security, making use of any

                 means or instruments of transportation or communication in interstate commerce

                 or of the mails to sell such security through the use or medium of any prospectus

                 or otherwise;

         (b)     Unless a registration statement is in effect as to a security, carrying or causing to

                 be carried through the mails or in interstate commerce, by any means or

                 instruments of transportation, any such security for the purpose of sale or for

                 delivery after sale; or

         (c)     Making use of any means or instruments of transportation or communication in

                 interstate commerce or of the mails to offer to sell or offer to buy through the use



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                 or medium of any prospectus or otherwise any security, unless a registration

                 statement has been filed with the Commission as to such security, or while the

                 registration statement is the subject of a refusal order or stop order or (prior to the

                 effective date of the registration statement) any public proceeding or examination

                 under Section 8 of the Securities Act [15 U.S.C. § 77h].

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

  Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

  receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

  officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

  participation with Defendant or with anyone described in (a).

                                                   V.

         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

  Defendant is liable for disgorgement of $735,126, representing his ill-gotten gains as a result of

  the conduct alleged in the Complaint, together with prejudgment interest in the amount of

  $111,169.22. However, Defendant’s obligation to pay disgorgement and prejudgment interest

  shall be deemed satisfied upon entry of this Final Judgment by the order of restitution entered

  against him in United States v. DiScala, et al., 14 Cr. 399 (E.D.N.Y.) (Dkt. No. 903).

                                                   VI.

         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

  Defendant is permanently barred from participating in an offering of penny stock, including

  engaging in activities with a broker, dealer, or issuer for purposes of issuing, trading, or inducing

  or attempting to induce the purchase or sale of any penny stock. A penny stock is any equity




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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ________________________________________________
                                                  :
  SECURITIES AND EXCHANGE COMMISSION,             :
                                                  :
                          Plaintiff,              :
                                                  :                     14 CIV. 4346 (ENV) (RML)
              -against-                           :                     ECF CASE
                                                  :
  ABRAXAS J. DISCALA,                             :
  MARC E. WEXLER,                                 :
  MATTHEW A. BELL,                                :
  CRAIG L. JOSEPHBERG,                            :
  IRA SHAPIRO,                                    :
  MICHAEL T. MORRIS,                              :
  RONALD M. HEINEMAN, and                         :
  DARREN L. OFSINK,                               :
                                                  :
                          Defendants.             :
  ________________________________________________:

                    CONSENT OF DEFENDANT CRAIG L. JOSEPHBERG

         1.      Defendant Craig L. Josephberg (“Defendant”) acknowledges having been served

  with the complaint in this action, enters a general appearance, and admits the Court’s jurisdiction

  over Defendant and over the subject matter of this action.

         2.      Defendant has pleaded guilty to criminal conduct relating to certain matters

  alleged in the complaint in this action. Specifically, in United States v. DiScala et al., 14 cr. 399

  (E.D.N.Y.), Defendant pleaded guilty to two counts of securities and wire fraud conspiracy, two

  counts of securities fraud, and one count of wire fraud in violation of 18 U.S.C. §§ 371, 1341,

  11343, 1349 and 15 U.S.C. §§ 78j(b), 78ff. This Consent shall remain in full force and effect

  regardless of the existence or outcome of any further proceedings in United States v. DiScala et

  al.




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         8.      Defendant will not oppose the enforcement of the Final Judgment on the ground,

  if any exists, that it fails to comply with Rule 65(d) of the Federal Rules of Civil Procedure, and

  hereby waives any objection based thereon.

         9.      Defendant waives service of the Final Judgment and agrees that entry of the Final

  Judgment by the Court and filing with the Clerk of the Court will constitute notice to Defendant

  of its terms and conditions. Defendant further agrees to provide counsel for the Commission,

  within thirty days after the Final Judgment is filed with the Clerk of the Court, with an affidavit

  or declaration stating that Defendant has received and read a copy of the Final Judgment.

         10.     Consistent with 17 C.F.R. § 202.5(f), this Consent resolves only the claims

  asserted against Defendant in this civil proceeding. Defendant acknowledges that no promise or

  representation has been made by the Commission or any member, officer, employee, agent, or

  representative of the Commission with regard to any criminal liability that may have arisen or

  may arise from the facts underlying this action or immunity from any such criminal liability.

  Defendant waives any claim of Double Jeopardy based upon the settlement of this proceeding,

  including the imposition of any remedy or civil penalty herein. Defendant further acknowledges

  that the Court’s entry of a permanent injunction may have collateral consequences under federal

  or state law and the rules and regulations of self-regulatory organizations, licensing boards, and

  other regulatory organizations. Such collateral consequences include, but are not limited to, a

  statutory disqualification with respect to membership or participation in, or association with a

  member of, a self-regulatory organization. This statutory disqualification has consequences that

  are separate from any sanction imposed in an administrative proceeding. In addition, in any

  disciplinary proceeding before the Commission based on the entry of the injunction in this




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  action, Defendant understands that he shall not be permitted to contest the factual allegations of

  the complaint in this action.

         11.     Defendant understands and agrees to comply with the terms of 17 C.F.R.

  § 202.5(e), which provides in part that it is the Commission’s policy “not to permit a defendant

  or respondent to consent to a judgment or order that imposes a sanction while denying the

  allegations in the complaint or order for proceedings.” As part of Defendant’s agreement to

  comply with the terms of Section 202.5(e), Defendant acknowledges the guilty plea for related

  conduct described in paragraph 2 above, and: (i) will not take any action or make or permit to be

  made any public statement denying, directly or indirectly, any allegation in the complaint or

  creating the impression that the complaint is without factual basis; (ii) will not make or permit to

  be made any public statement to the effect that Defendant does not admit the allegations of the

  complaint, or that this Consent contains no admission of the allegations; (iii) upon the filing of

  this Consent, Defendant hereby withdraws any papers filed in this action to the extent that they

  deny any allegation in the complaint; and (iv) stipulates for purposes of exceptions to discharge

  set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, that the allegations in the

  complaint are true, and further, that any debt for disgorgement, prejudgment interest, civil

  penalty or other amounts due by Defendant under the Final Judgment or any other judgment,

  order, consent order, decree or settlement agreement entered in connection with this proceeding,

  is a debt for the violation by Defendant of the federal securities laws or any regulation or order

  issued under such laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C.

  § 523(a)(19). If Defendant breaches this agreement, the Commission may petition the Court to

  vacate the Final Judgment and restore this action to its active docket. Nothing in this paragraph




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  affects Defendant’s: (i) testimonial obligations; or (ii) right to take legal or factual positions in

  litigation or other legal proceedings in which the Commission is not a party.

          12.     Defendant hereby waives any rights under the Equal Access to Justice Act, the

  Small Business Regulatory Enforcement Fairness Act of 1996, or any other provision of law to

  seek from the United States, or any agency, or any official of the United States acting in his or

  her official capacity, directly or indirectly, reimbursement of attorney’s fees or other fees,

  expenses, or costs expended by Defendant to defend against this action. For these purposes,

  Defendant agrees that Defendant is not the prevailing party in this action since the parties have

  reached a good faith settlement.

          13.     Defendant agrees that the Commission may present the Final Judgment to the

  Court for signature and entry without further notice.




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